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 8                           UNITED STATES DISTRICT COURT

 9                          CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               No. CR 18-891-DMG

11             Plaintiff,                    PROTECTIVE ORDER [34]

12                   v.

13   ROBIN DIMAGGIO,

14
               Defendants.
15

16        The Court having considered the stipulation of the government,
17   by and through its counsel of record, the United States Attorney’s
18   Office for the Central District of California and Assistant United
19   States Attorney Poonam G. Kumar, and defendant ROBIN DIMAGGIO
20   (“defendant”), both individually and by and through his counsel of
21   record, Deputy Federal Public Defender Neha Christerna (collectively,
22   the “parties”), with respect to the disclosure of sensitive and
23   confidential information contained in discovery to be provided by the
24   government to counsel of record for defendant in this matter and good
25   cause appearing therefor, the Court hereby ORDERS as follows:
26        1.    In order to permit the government to provide discovery
27   material to the above-named counsel of record for defendant while
28   avoiding the unauthorized dissemination, distribution, or use of
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 1   documents containing personal identification information, means of

 2   identification, financial records, tax records, and other sensitive

 3   or confidential information relating to third parties, the parties

 4   have stipulated to the entry of this Protective Order in the above-

 5   captioned case, United States v. DiMaggio, CR No. 18-891-DMG.

 6        2.    The term “Sensitive Information” shall mean dates of birth,

 7   social security numbers, driver’s license numbers, pin numbers, bank

 8   or financial account information, taxpayer identification

 9   information, tax information, home addresses, phone numbers, email

10   addresses, employment information, passwords, names of alleged

11   victims, and grand jury materials.

12        3.    The term "document" shall include written or printed matter

13   of any kind including originals, conforming copies, and non-

14   conforming copies (e.g., a copy of an original with an added

15   notation).   The term "document" shall also include letters, reports,

16   summaries, memoranda, notes, communications, telexes, cables,

17   telecopies, telegrams, facsimiles, microfilms, reports, photographs,

18   charts, graphs, maps, invoices, accountings, worksheets, bulletins,

19   transcripts, and messages, as well as alterations, amendments,

20   modifications and changes of any kind to the foregoing; and all

21   recordings of information on computer, magnetic, electronic, or optic

22   media such as computer hard drives, DVDs, CDs, audio or video tapes,

23   computer tapes or discs, microfiche, films, and all manner of

24   electronic data processing storage.

25        4.    The term "Protected Discovery" shall mean Sensitive

26   Information contained in documents that are produced to the defense

27   by the government as discovery in this case.         A document will not be

28   considered Protected Discovery if all Sensitive Information is

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 1   redacted from the document.

 2        5.      Only defense counsel, defense counsel’s agents, and

 3   defendant (the “defense team”) may review the Protected Discovery in

 4   preparation for trial or other resolution of this matter, and that

 5   defense counsel, defense counsel’s agents and defendant may only use

 6   the Protected Discovery personal information or any portion thereof

 7   for the specific purpose of litigating this matter and for no other

 8   purpose.     Litigation of this matter includes any appeal filed by

 9   defendants, and any motion filed by defendant pursuant to 28 U.S.C. §

10   2255.     Upon the final disposition of this case, the Protected

11   Discovery shall not be used, in any way, in any other matter, absent

12   a court order.

13        6.      Protected Discovery shall only be shared with defendant in

14   the presence of his counsel or defense counsel’s agents, and that

15   defendant shall not be allowed to possess on his own any Protected

16   Discovery.

17        7.      Defense counsel shall advise all members of the defense

18   team of their obligations under the Protective Order and ensure their

19   agreement to follow the Protective Order, prior to providing members

20   of the defense team with access to any Protected Discovery.

21        8.      The defense team shall not permit anyone who is not a

22   member of the defense team to retain in his or her possession any

23   Protected Discovery.

24        9.      The defense team may review Protected Discovery with

25   witnesses or witnesses’ counsel in this case.         Before being shown any

26   portion of the Protected Discovery, however, the above-named counsel

27   of record will advise any witness or witness’ counsel of, and that

28   witness or witness’ counsel must agree to be bound by, the

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 1   requirements of the Protective Order.        No witness or witness’ counsel

 2   may retain the Protected Discovery, or any copy thereof, after his or

 3   her review of those materials with the defense team is complete.

 4        10.   The defense team shall maintain the Protected Discovery

 5   safely and securely, and shall exercise reasonable care in ensuring

 6   the confidentiality of those materials.

 7        11.   To the extent that notes are made that memorialize, in

 8   whole or in part, the contents of any Protected Discovery, or to the

 9   extent that copies are made for authorized use by members of the

10   defense team, such notes, copies, or reproductions become Protected

11   Discovery and must be handled in accordance with the terms of the

12   Protective Order.

13        12.   In the event that a party needs to file Protected Discovery

14   with the Court or divulge the contents of such materials in court

15   filings, the filing should be made under seal, unless the parties

16   agree in writing that the specific document or documents may be filed

17   in the public record.     If the Court rejects the request to file such

18   information under seal, the party seeking to file such information

19   shall provide advance written notice to the other party to afford

20   such party an opportunity to object or otherwise respond to such

21   intention.   If the other party does not object to the proposed

22   filing, the party seeking to file such information shall redact the

23   Sensitive Information and make all reasonable attempts to limit the

24   divulging of Sensitive Information.

25        13.   All Protected Discovery maintained in the defense team’s

26   files shall remain subject to the Protective Order unless and until

27   such order is modified by court order.        Within thirty days of being

28   notified that appellate and post-conviction proceedings have

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 1   concluded, the defense team shall return Protected Information and

 2   materials otherwise identified as containing Sensitive Information to

 3   the government, certify that such materials have been destroyed, or

 4   certify that such materials are being kept pursuant to the Business

 5   and Professions Code and the Rules of Professional Conduct.

 6        14.   In the event that there is a substitution of counsel prior

 7   to when such documents must be returned, new defense counsel must

 8   join this Protective Order before any Protected Discovery may be

 9   transferred from the undersigned defense counsel to the new defense

10   counsel, who then will become the defense team’s custodian of the

11   Protected Discovery and who shall then become responsible for

12   returning all Protected Discovery to the government upon the

13   conclusion of appellate and post-conviction proceedings.

14        15.   The parties may modify the definition of Sensitive

15   Information by stipulation or, in the event that no agreement can be

16   reached between the parties, by an order of the Court upon a motion

17   by a party to this case.     This order may be modified by the Court

18   upon a motion by a party to this case or stipulation of the parties

19   to this case.

20        IT IS SO ORDERED.

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22
     January 29, 2019
23   DATE                                       DOLLY M. GEE
                                                UNITED STATES DISTRICT JUDGE
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